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                         THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 ROTHSCHILD BROADCAST
 DISTRIBUTION SYSTEMS, LLC,

                Plaintiff,

        v.                                         CIVIL ACTION NO. 6:20-cv-1040-ADA

 DIALPAD, INC.,

                Defendant.



                      MOTION FOR CLERK’S ENTRY OF DEFAULT

       Pursuant to Fed. R. Civ. P. 55(a), Plaintiff Rothschild Broadcast Distribution Systems, LLC

(“Plaintiff” and/or “RBDS”) hereby submits this Motion for Clerk’s Entry of Default Judgment.

Plaintiff requests that the Clerk enter the default of Defendant Dialpad, Inc., as the party against

whom a judgment is sought has failed to plead or otherwise defend, and that failure is shown by

the Affidavit of Jay Johnson, attached hereto as Exhibit A.

       Wherefore, Plaintiff respectfully prays that this Motion be Granted and that the Clerk’s

entry for default be entered against Defendant Dialpad, Inc.



Dated: May 5, 2021                              Respectfully submitted,

                                                /s/Jay Johnson
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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true copy of the foregoing was filed electronically
and served by operation of the Court’s electronic filing system on May 5, 2021. Parties may
access the foregoing through the Court’s system.

                                                     /s/Jay Johnson
                                                     JAY JOHNSON




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